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David W. Parham
State Bar No. 15459500
John Mitchell
State Bar No. 00797095
Rosa A. Shirley
State Bar No. 24056313
2300 Trammell Crow Center
2001 Ross Avenue
Dallas, Texas 75201
Telephone: (214) 978-3000
Facsimile: (214) 978-3099
Email: david.parham@bakermckenzie.com
Email: john.mitchell@bakermckenzie.com
Email: rosa.shirley@bakermckenzie.com

- and -

Erin E. Broderick (admitted pro hac vice)
Illinois Bar No. 6295974
300 East Randolph Drive, Suite 5000
Chicago, Illinois 60602
Telephone: (312) 861-8000
Facsimile: (312) 861-2899
Email: erin.broderick@bakermckenzie.com

Attorneys for MtGox Co., Ltd., a/k/a MtGox KK

                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                           )
In re                                      ) Chapter 15
                                           )
MtGox Co., Ltd. (a/k/a MtGox KK)           ) Case No. 14-31229-sgj15
                                           )
           Debtor in a Foreign Proceeding. )
                                           )

     NOTICE OF ADJOURNMENT AND RESETTING OF STATUS CONFERENCE

          PLEASE TAKE NOTICE that the status conference set for April 24, 2014 at 9:30 a.m.

has been adjourned and reset to April 30, 2014 at 9:30 a.m. (Prevailing Central Time), and




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will take place before the Honorable Stacey G.C. Jernigan, at the United States Bankruptcy

Court, Northern District of Texas, 14th Floor, 1100 Commerce Street, Dallas, Texas 75252.

Dated: April 23, 2014             Respectfully submitted,
       Dallas, Texas
                                  BAKER & McKENZIE LLP

                                  By:   /s/ David W. Parham
                                        David W. Parham
                                        State Bar No. 15459500
                                        John Mitchell
                                        State Bar No. 24056313
                                        Rosa A. Shirley
                                        State Bar No. 24056313
                                        2300 Trammell Crow Center
                                        2001 Ross Avenue
                                        Dallas, Texas 75201
                                        Telephone: (214) 978-3000
                                        Facsimile: (214) 978-3099
                                        Email: david.parham@bakermckenzie.com
                                        Email: john.mitchell@bakermckenzie.com

                                         - and -

                                         Erin E. Broderick (admitted pro hac vice)
                                         Illinois Bar No. 6295974
                                         300 East Randolph Drive, Suite 5000
                                         Chicago, Illinois 60602
                                         Telephone: (312) 861-8000
                                         Facsimile: (312) 861-2899
                                         Email: erin.broderick@bakermckenzie.com

                                         Attorneys for MtGox Co., Ltd., a/k/a MtGox KK




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